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 1   QUINN EMANUEL URQUHART & SULLIVAN, LLP
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 8   New York, New York 10010
     Telephone: (212) 849-7000
 9

10   Attorneys for Defendants
     TESLA, INC., ELON MUSK, BRAD W. BUSS,
11   ROBYN DENHOLM, IRA EHRENPREIS,
     ANTONIO J. GRACIAS, JAMES MURDOCH,
12   KIMBAL MUSK, and LINDA JOHNSON RICE
13
                           UNITED STATES DISTRICT COURT
14
                         NORTHERN DISTRICT OF CALIFORNIA
15
                               SAN FRANCISCO DIVISION
16

17
     IN RE TESLA, INC. SECURITIES            Case No. 3:18-cv-04865-EMC
18   LITIGATION
                                             NOTICE OF WITHDRAWAL AND
19                                           SUBSTITUTION OF COUNSEL FOR
                                             DEFENDANTS; [PROPOSED] ORDER
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                                                   NOTICE OF WITHDRAWAL & SUBSTITUTION
                                                             OF COUNSEL FOR DEFENDANTS
                                                                     3:18-CV-04865-EMC
      Case 3:18-cv-04865-EMC Document 350 Filed 12/16/21 Page 2 of 14



 1          PLEASE TAKE NOTICE that Defendants Tesla, Inc., Elon Musk, Brad W. Buss, Robyn

 2   Denholm, Ira Ehrenpreis, Antonio J. Gracias, James Murdoch, Kimbal Musk, and Linda Johnson

 3   Rice (“Defendants”) have retained Quinn Emanuel Urquhart & Sullivan, LLP to substitute as

 4   counsel for Cooley LLP in the above-captioned matter.

 5          Withdrawing counsel for Defendants are:

 6          Patrick Edward Gibbs
 7          Cooley LLP
            3175 Hanover Street Palo Alto, CA 94304
 8          Phone: (650) 843-5000
            Fax: (650) 849-7400
 9          Email: pgibbs@cooley.com
10
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11          Cooley LLP
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12          Palo Alto, CA 94304-1130
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13          Fax: (650) 849-7400
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15          Bingxin Wu
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            Fax: (212) 479-6275
18
            Email: bwu@cooley.com
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20          Cooley LLP
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22          Phone: (212) 479-6000
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23          Email: bfrench@cooley.com

24          Sarah Malke Lightdale
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26          New York, NY 10001
            Phone: (212) 479-6000
27          Fax: (212) 479-6275
            Email: slightdale@cooley.com
28
                                                             NOTICE OF WITHDRAWAL & SUBSTITUTION
                                                   2                   OF COUNSEL FOR DEFENDANTS
                                                                               3:18-CV-04865-EMC
      Case 3:18-cv-04865-EMC Document 350 Filed 12/16/21 Page 3 of 14



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 4          Email: jwalden@cooley.com

 5          Samantha Anne Kirby
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 7          Phone: (650) 843-5000
            Fax: (650) 849-7400
 8          Email: skirby@cooley.com

 9

10          All pleadings, orders and notices should henceforth be served upon the following
11   substituted counsel for Defendants:
12
            Alex Spiro (pro hac vice forthcoming)
13          QUINN EMANUEL URQUHART & SULLIVAN, LLP
            51 Madison Avenue, 22nd Floor
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            Email:        alexspiro@quinnemanuel.com
16          Michael Lifrak
            QUINN EMANUEL URQUHART & SULLIVAN, LLP
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18          Los Angeles, California 90017-2543
            Telephone:    +1 213 443-3000
19          Email:        michaellifrak@quinnemanuel.com

20
            Jeanine M. Zalduendo
21          QUINN EMANUEL URQUHART & SULLIVAN, LLP
            865 South Figueroa St., 10th Floor
22          Los Angeles, California 90017-2543
            Telephone:    +1 213 443-3000
23          Email:        jeaninezalduendo@quinnemanuel.com
24

25
            The undersigned parties consent to the above withdrawal and substitution of counsel.
26
27

28
                                                                NOTICE OF WITHDRAWAL & SUBSTITUTION
                                                    3                     OF COUNSEL FOR DEFENDANTS
                                                                                  3:18-CV-04865-EMC
      Case 3:18-cv-04865-EMC Document 350 Filed 12/16/21 Page 4 of 14



 1

 2                   16 2021
     Dated: December __,                      TESLA, INC.

 3
                                              By:
 4                                                  NATHANIEL SMITH
 5

 6   Dated: December ___, 2021                By:
                                                    ELON MUSK
 7

 8   Dated: December ___, 2021                By:
                                                    BRAD W. BUSS
 9

10   Dated: December ___, 2021                By:
                                                    ROBYN DENHOLM
11

12   Dated: December ___, 2021                By:
13                                                  IRA EHRENPREIS

14   Dated: December ___, 2021                By:
15                                                  ANTONIO J. GRACIAS

16   Dated: December ___, 2021                By:
17                                                  JAMES MURDOCH

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     Dated: December ___, 2021                By:
19                                                  KIMBAL MUSK

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     Dated: December ___, 2021                By:
21                                                  LINDA JOHNSON RICE

22   Dated: December ___, 2021
                                              COOLEY LLP
23

24
                                              By:
25                                                  PATRICK E. GIBBS

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                                                        NOTICE OF WITHDRAWAL & SUBSTITUTION
                                          4                       OF COUNSEL FOR DEFENDANTS
                                                                          3:18-CV-04865-EMC
      Case 3:18-cv-04865-EMC Document 350 Filed 12/16/21 Page 5 of 14



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 2   Dated: December __, 2021                 TESLA, INC.

 3
                                              By:
 4                                                   NATHANIEL SMITH
 5

 6                   12 2021                        Elon Musk
     Dated: December ___,                     By: Elon Musk (Dec 12, 2021 15:34 EST)
                                                   ELON MUSK
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 8   Dated: December ___, 2021                By:
                                                     BRAD W. BUSS
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                                                     ROBYN DENHOLM
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     Dated: December ___, 2021                By:
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                                              COOLEY LLP
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                                          4                              OF COUNSEL FOR DEFENDANTS
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      Case 3:18-cv-04865-EMC Document 350 Filed 12/16/21 Page 6 of 14



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 2   Dated: December __, 2021                 TESLA, INC.

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                                              By:
 4                                                   NATHANIEL SMITH
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 6   Dated: December ___, 2021                By:
                                                     ELON MUSK
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                                                    Brad Buss
 8   Dated: December ___, 2021                By: Brad Buss (Dec 13, 2021 17:23 PST)
                                                   BRAD W. BUSS
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                                                     ROBYN DENHOLM
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      Case 3:18-cv-04865-EMC Document 350 Filed 12/16/21 Page 7 of 14



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 4                                                   NATHANIEL SMITH
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                                                  ROBYN DENHOLM
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      Case 3:18-cv-04865-EMC Document 350 Filed 12/16/21 Page 8 of 14



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12                                                   Ira Ehrenpreis
     Dated: December ___, 2021                By: Ira Ehrenpreis (Dec 12, 2021 09:35 PST)
13                                                 IRA EHRENPREIS

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      Case 3:18-cv-04865-EMC Document 350 Filed 12/16/21 Page 9 of 14



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15                                                 ANTONIO J. GRACIAS

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     Case 3:18-cv-04865-EMC Document 350 Filed 12/16/21 Page 10 of 14



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17                                                 JAMES MURDOCH

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     Case 3:18-cv-04865-EMC Document 350 Filed 12/16/21 Page 11 of 14



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19                                                 KIMBAL MUSK

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21                                                  LINDA JOHNSON RICE

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     Case 3:18-cv-04865-EMC Document 350 Filed 12/16/21 Page 12 of 14



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19                                                  KIMBAL MUSK

20                                                  Linda Johnson Rice
     Dated: December ___, 2021                By: Linda Johnson Rice (Dec 13, 2021 11:36 CST)
21                                                 LINDA JOHNSON RICE

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                                              COOLEY LLP
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                                          4                            OF COUNSEL FOR DEFENDANTS
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     Case 3:18-cv-04865-EMC Document 350 Filed 12/16/21 Page 13 of 14



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22   Dated: December 16, 2021
                                              COOLEY LLP
23

24
                                              By: /S/ Patrick E. Gibbs
25                                                PATRICK E. GIBBS

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                                          4                       OF COUNSEL FOR DEFENDANTS
                                                                          3:18-CV-04865-EMC
     Case 3:18-cv-04865-EMC Document 350 Filed 12/16/21 Page 14 of 14



 1
     Dated: December 16, 2021                          QUINN EMANUEL URQUART &
 2                                                     SULLIVAN, LLP

 3

 4                                                         By: /S/ Michael T. Lifrak
                                                               MICHAEL T. LIFRAK
 5

 6                                                 * * * * *

 7          I hereby attest that I obtained concurrence in the filing of this document from each of the

 8   other signatories on this e-filed document.

 9   Dated: December 16, 2021                          QUINN EMANUEL URQUART &
                                                       SULLIVAN, LLP
10

11
                                                           By: /S/ Michael T. Lifrak
12                                                             MICHAEL T. LIFRAK
13
                                                   * * * * *
14

15
            The above withdrawal and substitution of counsel is approved and so ORDERED.
16
                      16 2021
     Dated: December ___,
17
                                                                   JUDGE EDWARD M. CHEN
18

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                                                                    NOTICE OF WITHDRAWAL & SUBSTITUTION
                                                       5                      OF COUNSEL FOR DEFENDANTS
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